86 F.3d 1149
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles C. ESTELLE, Jr.;  Charles C. Estelle, Sr.,Plaintiffs-Appellants,v.COUNTY OF MONTGOMERY, MARYLAND;  Clarence Edwards, PoliceChief, County of Montgomery;  Stephen Decarlo, Officer;Other Unknown Officers of the Montgomery County PoliceDepartment, Defendants-Appellees,andState of Maryland;  Andrew L. Sonner;  Alexander Foster;Patrick Bates;  Good Counsel High School, XavieranBrothers;  Michael Murphy, President, Defendants.
    No. 95-2842.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided May 28, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Greenbelt.   Alexander Williams, Jr., District Judge.  (CA-94-2648-AW, CA-94-3241-AW)
      Charles C. Estelle, Jr., and Charles C. Estelle, Sr., Appellants Pro Se.  James Louis Parsons, Jr., COUNTY ATTORNEY'S OFFICE, Rockville, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellants appeal from the district court's order denying relief on their 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Estelle v. County of Montgomery, Nos.  CA-94-2648-AW;  CA-94-3241-AW (D. Md. Sept. 19 &amp; Oct. 4, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    